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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 ELNORA CARTHAN, et al.,
                   Plaintiffs,            Case No.: 5:16-cv-10444

 v.                                       Hon. Judith E. Levy
 GOVERNOR RICHARD D. SNYDER,
 et al.,

             Defendants.
 __________________________________________________________________/

       STIPULATION AND ORDER TO EXTEND THE TIME FOR THE
      MDEQ EMPLOYEE DEFENDANTS and THE MDHHS EMPLOYEE
           DEFENDANTS TO ANSWER THE FOURTH AMENDED
             CONSOLIDATED CLASS ACTION COMPLAINT

       Plaintiffs, Defendants Bradley Wurfel, Liane Shekter Smith, Stephen Busch,

 Patrick Cook and Michael Prysby (the “MDEQ Employee Defendants”), and

 Defendants, Nancy Peeler and Robert Scott (the “MDHHS Employee

 Defendants”), by and through their respective counsel, hereby stipulate and agree

 to extend the deadline for the MDEQ Employee Defendants and the MDHHS

 Employee Defendants to answer the Fourth Consolidated Amended Class

 Complaint (Dkt. 620-3) as follows:

       1.    On April 1, 2019, this Court adopted Plaintiffs’ Fourth Consolidated

 Amended Class Complaint.

       2.    The parties agree to extend the deadline for the MDEQ Employee

 Defendants and MDHHS Employee Defendants to answer to the Fourth
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 Consolidated Amended Class Complaint until April 30, 2019 and request that the

 Court enter an Order to this effect.

         Pursuant to ECF Rule 11(c), Plaintiffs, MDEQ Employee Defendants and

 MDHHS Employee Defendants request that a text-only order be entered granting

 this stipulation.

 STIPULATED AND AGREED TO:

 Dated April 16, 2019
 /s/ Theodore J. Leopold (with               /s/ Philip A. Grashoff, Jr.
 permission)                                 Philip A. Grashoff, Jr. (P14279)
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 /s/ Michael L. Pitt (with permission)       Thaddeus E. Morgan (P47394)
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